UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
NELSON CASTILLO, MARTA VALLADARES,
ARACELY VALLADARES, CARLOS REYES, YOSELY
ESPINAL HENRIQUEZ, VILMA DIAZ and JESSICA
CHICAS individually and on behalf of all others similarly          Case No. 17-CV-02972 (ST)
situated,

                                                    Plaintiffs,
                         - against -

PERFUME WORLDWIDE INC. and PIYUSH GOLIA,

                                                     Defendants.

               [PROPOSED] ORDER GRANTING MOTION FOR
     FINAL APPROVAL OF CLASS AND COLLECTIVE ACTION SETTLEMENT

       Based on the declaration of Steven J. Moser dated June 6, 2022 and the memorandum of

law dated June 6, 2022, and the parties having appeared before the Court for a Fairness Hearing

on June 24, 2022 and having received no objections to the parties’ Settlement Agreement and

Release submitted to the Court on August 23, 2021 (“Settlement Agreement”), Plaintiffs’ motion

for final approval of the parties’ Settlement Agreement is GRANTED, and the Court hereby:

       1.      Certifies the following settlement class under Fed. R. Civ. P. 23(a) and (b)(3) for

purposes of effectuating the parties’ settlement:

               All employees of Perfume Worldwide Inc. who performed work as
               non-exempt employees between January 1, 2011 and December 31,
               2018

       2.      Grants the Motion for Final Approval of the class settlement and collective action

settlement. The Court finds that the settlement is fair, reasonable and adequate in all respects and

that it is binding on Class Members who did not timely opt out pursuant to the procedures set forth

in the Preliminary Approval Order. The Court further finds that the terms of the FLSA are fair and
reasonable and consistent with Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199 (2d Cir.

2015);

         3.     Finds that the proposed settlement is procedurally fair because it was reached

through vigorous, arm's length negotiations and after experienced counsel had evaluated the merits

of Plaintiffs' claims through factual and legal investigation. Wal-Mart Stores, Inc. v. Visa U.S.A.

Inc., 396 F.3d 96, 117 (2d Cir. 2005);

         4.     Finds the settlement is also substantively fair. All the factors set forth in Grinnell,

which provides the analytical framework for evaluating the substantive fairness of a class action

settlement, weigh in favor of final approval. Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974).

Therefore, the Court finds that the settlement is adequate given: (1) the complexity, expense and

likely duration of the litigation; (2) the stage of the proceedings and the amount of discovery

completed; (3) the risks of establishing liability and damages; (4) the risks of maintaining the class

action through the trial; (5) the lack of any objections; (6) the ability of the defendants to withstand

a greater judgment; and (7) that the Total Settlement Amount is within the range of reasonableness

in light of the best possible recovery and the attendant risks of litigation. Id. at 463;

         5.     Finds that the class’s reaction to the settlement was positive, as no Class Member

objected to or opted-out of the settlement;

         6.     Grants Plaintiffs' Motion for Attorneys' Fees and awards Class Counsel

$750,000.00 (one-third of the Gross Settlement Amount), which the Court finds to be fair and

reasonable based on: (1) the number of hours worked by Class Counsel during the Litigation; (2)

the results achieved on behalf of the Class; (3) the contingent nature of Class Counsel's

representation; (4) the complexity of the issues raised by the Litigation; (5) a lodestar cross check;

and (6) Class Counsel's recognized experience and expertise;
        7.    Awards Class Counsel reimbursement of their litigation expenses in the amount of

$30,087.01;

        8.    Approves and finds the service awards for Plaintiffs Nelson Castillo, Marta

Valladares, Aracely Valladares, Carlos Reyes, Yosely Espinal Henriquez, Vilma Diaz and Jessica

Chicas in the amount of $10,000.00 each in recognition of the services they rendered on behalf of

the class;

        9.    Finds reasonable the payment of the Settlement Administrator's fees in an amount

of up to $37,500.00;

        10.   Directs the Claims Administrator to mail the final notice of approval to the Class

as per the terms of the Settlement Agreement;

        11.   Directs the Parties and the Claims Administrator to fully comply with the terms of

the Settlement Agreement, and incorporates by reference the terms thereof into this order; and

        12.   Dismisses this matter and Litigation in its entirety and with prejudice.



SO ORDERED:

__________________________                          Dated: __________________________
U.S.M.J.
